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 1                                                          THE HONORABLE RICHARD A. JONES
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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9   BLACK LIVES MATTER SEATTLE-                        No. 2:20-cv-00887-RAJ
     KING COUNTY, ABIE EKENEZAR,
10   SHARON SAKAMOTO, MURACO                            DECLARATION OF DAVID A. PEREZ
     KYASHNA-TOCHA, ALEXANDER
11   WOLDEAB, NATHALIE GRAHAM,
     AND ALEXANDRA CHEN,
12
                             Plaintiffs,
13
              v.
14
     CITY OF SEATTLE,
15
                             Defendant.
16

17
              I, David A. Perez, declare and state as follows:
18
              1.     The information contained in this declaration is true and correct to the best of my
19
     knowledge, and I am of majority age and competent to testify about the matters set forth herein.
20
              2.     I am a partner at Perkins Coie LLP, and I serve as counsel for Plaintiffs Black
21
     Lives Matter Seattle King-County, Abie Ekenezar, Sharon Sakamoto, Muraco Kyashna-tochá,
22
     Alexander Woldeab, and Alexandra Chen in the above-entitled action. I submit this declaration
23
     in support of Plaintiff’s Motion for Order to Show Cause Why City of Seattle Should Not be
24
     Held in Contempt for Violating the Preliminary Injunction.
25

26

      PEREZ DECL. ISO MOTION FOR                                                Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –1                                 1201 Third Avenue, Suite 4900
                                                                            Seattle, WA 98101-3099
                                                                              Phone: 206.359.8000
     149700049.1                                                               Fax: 206.359.9000
               Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 2 of 19




 1            3.    On September 29, 2020, my co-counsel Molly Tack-Hooper with the American
 2   Civil Liberties Union of Washington Foundation and Professor Robert Chang with the Fred T.
 3   Korematsu Center for Law and Equality had a telephone conference with counsel for the City
 4   and informed them that Plaintiffs would be filing a motion for an order to show cause, in light of
 5   SPD’s repeated violations of the preliminary injunction during protests that occurred on August
 6   26, September 7, September 22, and September 23, 2020.
 7            4.    Attached hereto as Exhibit A is a true and correct copy of an August 28, 2020
 8   letter from Plaintiffs’ counsel to counsel for the City regarding events on August 26, 2020.
 9            5.    Attached hereto as Exhibit B is a true and correct copy of a September 4, 2020
10   response letter from the City’s counsel to counsel for Plaintiffs regarding events on August 26,
11   2020.
12            6.    Attached hereto as Exhibit C is a true and correct copy of a September 9, 2020
13   letter from Plaintiffs’ counsel to counsel for the City regarding events on September 7, 2020.
14            7.    Attached hereto as Exhibit D is a true and correct copy of a September 11, 2020
15   response letter from the City’s counsel to counsel for Plaintiffs regarding events on September 7,
16   2020.
17            8.    Attached hereto as Exhibit E is a true and correct copy of a September 24, 2020
18   letter from Plaintiffs’ counsel to counsel for the City regarding events on September 22 and 23,
19   2020. The City confirmed via e-mail that it would respond to this letter the week of September
20   28, 2020 (this week).
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      PEREZ DECL. ISO MOTION FOR                                               Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –2                                1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
                                                                             Phone: 206.359.8000
     149700049.1                                                              Fax: 206.359.9000
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 5            Executed this 29th day of September 2020 at Seattle, Washington.

 6            I declare under penalty of perjury under the laws of the United States and the State of

 7   Washington that the foregoing is true and correct.

 8

 9                                                                         By:___s/ David Perez______

10                                                                                         David A. Perez

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      PEREZ DECL. ISO MOTION FOR                                                 Perkins Coie LLP
      CONTEMPT (No. 2:20-cv-00887-RAJ) –3                                  1201 Third Avenue, Suite 4900
                                                                             Seattle, WA 98101-3099
                                                                               Phone: 206.359.8000
     149700049.1                                                                Fax: 206.359.9000
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            Exhibit A
           Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 5 of 19




                                                                                           David A. Perez
August 28, 2020
                                                                                   DPerez@perkinscoie.com
                                                                                      D. +1.206.359.6767
                                                                                      F. +1.206.359.7767

VIA EMAIL

Ghazal Sharifi
Carolyn Boies
Seattle City Attorney’s Office
701 5th Ave, #2050
Seattle, WA 98104

Re:       Use of Force on August 26
          Black Lives Matter, et al. v. City of Seattle, Cause No. 2:20-cv-00887

Dear Ms. Sharifi and Ms. Boies:

We are disturbed by recent reports that the Seattle Police Department (“SPD”) used excessive
force against peaceful protesters and attendees of the vigil for Summer Taylor near the
Washington State Patrol office in Eastlake on August 26, 2020.

Video evidence suggests that SPD’s tactics during this protest event violate the preliminary
injunction in this case. Police can be seen using chemical irritants as a dispersal method,
repeatedly hitting members of the media with chemical irritants, and charging at peaceful
protesters without giving the protesters enough time to move. 1 It appears that SPD deployed so
much gas that clouds of it filled the street. 2 These tactics are troublingly similar to those that
prompted our prior contempt proceedings. This was a peaceful protest.

We understand the need to protect the safety of drivers and pedestrians. However, the Court’s
Orders prohibit the use of less-lethal weapons for ordinary crowd control purposes, and allow
only “necessary, reasonable, proportional, and targeted” deployment of less-lethal weapons
against peaceful protesters to prevent specific, imminent harm.

By Tuesday, September 1, at 12 p.m., please provide information on why the City views its
response as consistent with the Court’s orders, including an explanation for why such force was
used, how many less-lethal weapons were used, who authorized the use of less-lethal weapons,
what was communicated to officers about the circumstances in which they could be used, and
any other information relevant to the SPD’s decision to use this force.



1
    See, e.g., https://www.facebook.com/WWConverge/videos/355310738820842/.
2
    See, e.g., https://twitter.com/TheBageler7/status/1298869784163975169


149385007.2
          Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 6 of 19




Ghazal Sharifi
August 28, 2020
Page 2


We would like to schedule a call with you shortly after receiving your response to discuss what
happened on August 26.

Very truly yours,



Molly Tack-Hooper



Professor Robert Chang


Carolyn Gilbert



David A. Perez




149385007.2
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             Exhibit B
      Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 8 of 19

   Seattle City Attorney
   Peter S. Holmes

                                                                                         Ghazal Sharifi
                                                                               Assistant City Attorney
                                                                                       (206) 684-8217
                                                                            Ghazal.sharifi@seattle.gov

                                        September 4, 2020

David A. Perez
Carolyn Gilbert
Perkins Coie
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099

CC: Professor Robert Chang
    Molly Tack-Hooper


Re:     Black Lives Matter, et al. v City of Seattle, Cause No. 2:20-cv-00887

Dear Counsel:

        Below please find the response to your letter dated August 28, 2020 regarding your
inquiry about events that occurred on the evening of August 26th. Respectfully, we disagree
that there is evidence of any deployment of “chemical irritants” on the part of Seattle Police
officers on August 26, 2020 that was in any way inconsistent with the Orders entered on
June 17, 2020 and on August 10, 2020. We provide the below based on our review of
preliminary information from reports, conversations with incident command, and review
of your videos.

        The protest was not peaceful throughout the evening, (including attendee
deployment of munitions). Nonetheless, Seattle Police did not deploy any CS gas. Based
on the information we have, there were limited targeted deployments of OC spray and the
deployment of OC was targeted at specific individuals who were engaged in assaultive
behavior, resisting arrest, or engaged in attempts to de-arrest others subject to arrest.

        The events on the night of August 26, 2020 began with property damage by some
in a group near Volunteer Park, which resulted in an arrest and the discovery of Molotov
cocktails (one in a suspect’s backpack, one on the ground nearby.) Officers subsequently
received information that protesters were using themselves and stopped cars to block
access to streets over several blocks and to two public safety stations (belonging to
Washington State Patrol and the Seattle Fire Department), creating a life safety




                                        SEATTLE CITY ATTORNEY’S OFFICE
                       701 FIFTH AVENUE, SUITE 2050, SEATTLE, WASHINGTON 98104-7097
                              (206) 684-8200 FAX (206) 684-8284 TTY (206) 233-7206
                                       an equal employment opportunity employer
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September 4, 2020
Page 2

emergency. 1 Seattle Police officers issued several warnings to the drivers of the vehicles
to move their vehicles and unblock the stations, to allow for the opening of the
intersections. The warnings included both direct discussions with drivers and PA
announcements to move the cars. When these requests were ignored, SPD called in
additional resources, including tow trucks, to remove the vehicles.

        When officers tried to contact the remaining drivers, assaults on the officers began,
requiring at least one additional arrest prior to a dispersal order. The protestors shined lasers
and strobes in the officers’ eyes, impacting their safety and creating a direct risk of officer
injury. Members of the crowd moved toward the officers and began striking them with
umbrellas. After these events, Lieutenant John Brooks gave a dispersal order. This group
of protestors was acting in concert, resisting lawful orders, and creating a substantial risk
of injury. After the dispersal order, individuals in the crowd continued with assaults,
resistance tactics and attempts to de-arrest, and someone in the crowd threw a large
pyrotechnic improvised explosive device (IED) at the officers. Either that device or others
also deployed by attendees released a cloud of smoke upon detonation. This may be the
“gas clouds” you reference in your correspondence. Officers moved the crowd several
times during the evening to avoid confrontations whenever possible and to reduce the need
to use force. Your correspondence addresses individuals being “charged at” without time
to disperse – while we disagree with your assessment of the circumstances, this is also not
something that is contemplated by the parameters of our case or the Court’s Order

        In summary, we do not have any information to suggest that there were
deployments of “chemical irritants or projectiles of any kind against persons peacefully
engaging in protests or demonstrations.” (Order, Dkt. 42, p. 2, par. 1.) Based on our
information, the limited and targeted use of OC was also consistent with the clarifications
set forth in paragraphs 1.a-c of the Order at Dkt. 110. The information we have to date
suggests that Mr. Salisbury was not targeted, and his exposure to OC occurred by virtue of
his close proximity to those individuals who were targeted consistent with the parameters
of the Orders.
                                              Sincerely,

                                                       PETER S. HOLMES
                                                       Seattle City Attorney

                                              By:      s/ Ghazal Sharifi
                                                       Ghazal Sharifi
                                                       Assistant City Attorney

1
  Protestors around Roanoke and Broadway had stopped several of their cars in the street, causing a
substantial backup stopping all vehicle movement and creating serious safety hazards. Metro buses became
stuck in the intersections, extending the obstruction across several blocks. The protestors then exited on foot
to block the entryway of a Washington State Patrol station and Seattle Fire Station 22. An estimated 10-15
cars blocked traffic with scores of people on foot blocking the stations. Emergency vehicles could not enter
or exit the facilities, making it impossible to timely provide services to the community. It became impossible
for other emergency vehicles to move through the area.
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             Exhibit C
         Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 11 of 19




                                                                                          David A. Perez
September 9, 2020
                                                                                  DPerez@perkinscoie.com
                                                                                     D. +1.206.359.6767
                                                                                     F. +1.206.359.7767

VIA EMAIL

Ghazal Sharifi
Carolyn Boies
Seattle City Attorney’s Office
701 5th Ave, #2050
Seattle, WA 98104

Re:      Use of Force September 7
         Black Lives Matter, et al. v. City of Seattle, Cause No. 2:20-cv-00887

Dear Ms. Sharifi and Ms. Boies:

We write again with concern over reports that the Seattle Police Department (“SPD”) violated
the Court’s Order. This time, we write concerning protests that occurred downtown near the
Seattle Police Officer Guild’s (“SPOG”) on September 7.

According to witness reports and videos, SPD deployed blast balls and OC spray at peaceful
protesters and journalists without provocation and while protesters were attempting to disperse.
Such actions clearly violate the Court’s preliminary injunction.

Though we call attention to SPD’s apparent disregard for the letter of the law, we also are
troubled by SPD’s apparent disregard for the spirit of the law. SPD’s tactics appear to be
intended to intimidate people exercising their First Amendment rights and to create conditions
increasing the likelihood of the use of less-lethal weapons and other methods that harm peaceful
protesters and journalists. Though SPD sporadically issues dispersal orders, even when it does,
it routinely denies peaceful protesters the time and opportunity to disperse before utilizing force
or arresting them. We are concerned by reports that, on numerous occasions, SPD officers have
charged at peaceful protesters who have not been ordered to disperse or at retreating protesters
attempting to disperse. 1 Officers can be seen needlessly antagonizing protesters by ripping away
umbrellas and other personal items and knocking away phones trying to record the events
(including phones being held by clearly identifiable journalists) out of apparent retaliation. 2



1
         https://twitter.com/richsssmith/status/1303162681663262727;
         https://twitter.com/richsssmith/status/1303155617209577472.
2
         https://twitter.com/richsssmith/status/1303183854669160453.
         https://twitter.com/richsssmith/status/1303163450248450049.


149472887.2
         Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 12 of 19




September 9, 2020
Page 2


Instead of using necessary, reasonable, proportional, and targeted force, as the Court’s Order
requires, SPD has done the opposite.

We are deeply concerned about SPD’s disregard for the Court’s orders and the City’s apparent
lack of concern about SPD’s tactics.

By Friday, September 11 at 12 p.m., please provide information on why the City views its
response as consistent with the Court’s orders, including an accounting of how many less-lethal
weapons were used and an explanation for why such force was used, identifying who authorized
the use of less-lethal weapons, what was communicated to officers about the circumstances in
which they could be used, and any other information relevant to the SPD’s decision to use this
force.

We note that the current order would require a response within 24 hours to a contempt motion.
We are considering asking the Court to reopen contempt proceedings against the City. In lieu of
doing that, for now, we are asking that you provide us with this information as soon as possible.

Very truly yours,



Molly Tack-Hooper



Professor Robert Chang




Carolyn Gilbert




David A. Perez




149472887.2
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             Exhibit D
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                                                        CHRISTIE : LAW GROUP PLLC




September 11, 2020


VIA ELECTRONIC MAIL ONLY

Molly Tack-Hooper
Robert Chang
Carolyn Gilbert
David Perez

         Re:        Black Lives Matter, et al. v. City of Seattle
                    Cause No. 2:20-cv-00887

Dear Counsel:

        This responds to your letter dated September 9, 2020 inquiring about events that occurred
in the early evening of September 7, 2020. Based on the information we have, Seattle Police
Officers did not, as you allege, deploy blast balls and OC spray “at peaceful protesters and
journalists without provocation while protesters were attempting to disperse.” Based on the
preliminary information we have gathered, on September 7, in response to crowd violence, Seattle
Police Officers deployed a limited number of less lethal tools. Deployments were consistent with
the Court’s Orders. Over the course of the evening, 9 officers were injured, and 23 individuals
were arrested.


        On September 7, officers were briefed that the use of less lethal tools must follow the law,
SPD policy, their training, and be consistent with the Court’s Orders. All officers were advised of
the preliminary injunction limitations and reminded that officers cannot use Less Lethal Munitions
against persons peacefully engaging in protests or demonstrations. Also consistent with the Orders,
Officers were advised that they can take necessary, reasonable, proportional, and targeted action
to protect against a specific imminent threat of physical harm to themselves or identifiable others
or to respond to specific acts of violence or destruction of property.

        That evening, without using crowd control devices and to prevent imminent harm to
individuals, Seattle Police Officers deployed bike officers as part of an effort to make a targeted
arrest of a suspect. The arrest prompted certain individuals in the crowd to become violent,
including hitting the arresting sergeant with a metal pipe. Officer attempts to make legitimate

    POST: JULIE’S LANDING ON LAKE UNION, 2100 WESTLAKE AVE. N., SUITE 206, SEATTLE, WA 98109 T 206.957.9669 F 206.352.7875 W CHRISTIELAWGROUP.COM
         Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 15 of 19




                                                        CHRISTIE : LAW GROUP PLLC

arrests, including of a suspect identified in an attempted arson days earlier, were met with members
of the crowd obstructing officers and concealing suspects. Officers were assaulted with rocks,
bottles, explosives, bear spray, Molotov cocktails; they were jabbed with umbrellas and struck
with improvised shields. Members of the crowd also attempted to pull away officers’ bicycles.1
Amongst other items, officers recovered a package of Molotov cocktails left behind by a member
of the crowd. Seattle Police Officers gave multiple dispersal orders, along with repeated commands
to the crowd to move back. Moving the crowd was an effective tactic that allowed for use of crowd
control tools to be kept to a minimum.

        Based on preliminary information, there were a total of 20 bursts of OC spray that were
directed at specific suspects who were either actively assaulting officers by throwing projectiles,
making hands-on contact with officers, or actively engaging in de-arrest tactics. Seattle Police
Officers deployed 4 OC and 2 inert blast balls in the area of suspects actively engaging in de-arrest
tactics and actively assaulting officers who were attempting to make arrests. Officers targeted 1
inert and 2 OC blast balls at suspects in the crowd who had thrown Molotov cocktails at officers,
which posed an imminent threat of physical harm to them. Officers targeted 2 inert and 2 OC blast
ball deployments at suspects actively throwing other types of projectiles, including rocks and
mortars, at officers. There were 5 blue nose rounds deployed by a single officer directed at a single
suspect who was throwing traffic cones at bike officers, striking one. The suspect was hit in the
thigh and buttock region, and she dispersed into the crowd, avoiding arrest. Each of these
deployments of CCWs were targeted at suspects who were engaged in active assaults of officers
and posed imminent threats of physical harm. None of these deployments were targeted at
members of the media, legal observers, or medics.

      To be clear, Seattle Police Officers never deployed any CS gas on September 7. All of the
deployments of Crowd Control Munitions were targeted and in direct response to violent acts from
members of the crowd. In summary, we believe all uses of less lethal munitions on September 7,
2020 were entirely consistent with the Court’s Order at Dkt. 42 and the clarifying Order at Dkt.
110.

        You express concerns about whether the officers acted in a manner that was consistent with
the “spirit” of the Orders. It is unclear exactly what is intended by this statement, but to the extent
it concerns SPD conduct or tactics that are not covered by the parameters of Judge Jones’ Orders,
we remind you of the City’s accountability system. The Office of Police Accountability is
reviewing complaints arising out of demonstration events, including some alluded to in your letter.
To the extent you have specific concerns or wish to make a specific OPA complaint, we direct you
to the Office of Police Accountability’s website, where a complaint can be made and
investigated: https://www.seattle.gov/opa. Additionally, the City has the Office of Inspector
General that is conducting a “sentinel event review” of the demonstration response from this
summer, including an assessment of police tactics during demonstration events. More information

1See https://spdblotter.seattle.gov/2020/09/07/22-individuals-arrested-during-labor-day-demonstration/,
which includes Body Worn Video footage of an assault on an officer and a Molotov cocktail thrown at officers.

    POST: JULIE’S LANDING ON LAKE UNION, 2100 WESTLAKE AVE. N., SUITE 206, SEATTLE, WA 98109 T 206.957.9669 F 206.352.7875 W CHRISTIELAWGROUP.COM
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                                                        CHRISTIE : LAW GROUP PLLC

about the OIG and its processes is available here, https://www.seattle.gov/oig. Seattle also has the
Community Police Commission, an organization represented by Mr. Perez himself. As you know,
the CPC offers the community arm to address accountability concerns with SPD, including
concerns with demonstration tactics and management. The CPC’s website is available
here: https://www.seattle.gov/community-police-commission. Finally, as you are well aware, the
City continues to be under consent decree with a newly appointed monitor and deputy monitor.
The monitoring team will examine crowd management at recent demonstration events. In short,
these structures and systems are in better position to assess and address the concerns you raise
about the “spirit” of the Orders than through the parameters of this litigation.

Very truly yours,

/s/ Robert L. Christie
/s/ Thomas P. Miller
/s/ Ann E. Trivett
/s/ Megan M. Coluccio

Robert L. Christie
Thomas P. Miller
Ann E. Trivett
Megan M. Coluccio




    POST: JULIE’S LANDING ON LAKE UNION, 2100 WESTLAKE AVE. N., SUITE 206, SEATTLE, WA 98109 T 206.957.9669 F 206.352.7875 W CHRISTIELAWGROUP.COM
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             Exhibit E
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September 24, 2020                                                                        David A. Perez
                                                                                 DPerez@perkinscoie.com
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                                                                                     F. +1.206.359.7767

VIA EMAIL

Ghazal Sharifi
Carolyn Boies
Seattle City Attorney’s Office
701 5th Ave, #2050
Seattle, WA 98104

Dear Ms. Sharifi and Ms. Boies:

We write regarding yet two more alarming protest events in which we received reports that the
Seattle Police Department (“SPD”) used excessive force against peaceful protesters.

The first was September 22. We received reports that an officer threw a blast ball at a protester
laying on the ground. 1 There is no indication (as corroborated by witness reports) that the
protester’s, or surrounding protesters’, conduct necessitated the use of force.

The second was last night, September 23. As you know, protesters across the country were
reinvigorated in exercising their First Amendment rights after a grand jury decided to not indict
police officers in Louisville, Kentucky, for the killing of Breonna Taylor. We received reports
that SPD used pepper spray, cannisters of gas, blast balls, flash bangs, and projectiles (including
from a gun permitting SPD to rapidly deploy rubber bullets and OC balls). We received reports
of at least two protesters and one medic hit with flashbangs. A video documents another protester
tripping after being pushed by police. While he was on the ground, an officer shot him several
times, at close range, with what appear to be rubber bullets. 2 Other videos document an injured
man laying in the street. The police did not help the injured man and in fact prevented civilians
from helping the injured man. 3 Five minutes later, an officer ran over the injured man’s head
with his bike. 4

These and other events about which we have already notified you demonstrate a systematic
disregard of the Court’s Order. Contrary to your characterization of our reporting of events in our
letters, we are aware of the full events taking place at these protests, including incidents of
violence and property damage. However, we are deeply troubled by the City’s responses to our

1
  https://twitter.com/MarcusKulik/status/1308671251594977280 and
https://twitter.com/spekulation/status/1308859475428806657
2
  https://twitter.com/richsssmith/status/1309041882929008642
3
  https://twitter.com/WarlockBranis/status/1309047431707983872?s=20
4
  https://www.facebook.com/groups/329197415030572/permalink/348698509747129/


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         Case 2:20-cv-00887-RAJ Document 115 Filed 09/30/20 Page 19 of 19




September 24, 2020
Page 2


letters. The City has failed to acknowledge, even to the smallest degree, that its actions constitute
excessive force. The City’s responses to prior events have repeatedly placed the blame at the
individuals attempting to exercise their First Amendment rights, without placing any
responsibility on the shoulders of the officers charged with protecting these constitutional rights.
Video footage and reports from protesters clearly refute the City’s claims of widespread violence
and destruction. The City has effectively condoned SPD’s violation of the Court’s Order by
failing to critically review SPD’s response to peaceful protesters. By all indications, the City
intends to allow SPD to continue to violate the Order. In the absence of any indication that the
City plans to address some of these concerns, we will be left with no other option but to bring
our concerns back to the Court’s attention.

Please provide information on why the City views its response to protests on September 22 and
23 as consistent with the Court’s orders and what steps the City intends to take to correct SPD’s
actions moving forward.

Very truly yours,



Molly Tack-Hooper



Professor Robert Chang



Carolyn Gilbert



David A. Perez




149650853.2
